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UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF ILLINOIS

 

)
SECURITIES AND EXCHANGE )
COMMISSION, )
)
Plaintiff, )
)

v. ) Civil Action No.
)
ARTHUR H. REED )
and ALLAN F. DERSUHA, )
' )
Defendants. )
l

 

FINAL JUDGMENT AS TO ALLAN F. DERUSHA

The Securities and Exchange Commission (“Commission”) having filed a Complaint and
Defendant Allan F. Derusha (“Defendant”) having entered a general appearance; consented to
the Court’s jurisdiction over Defendant and the subject matter of this action; consented to entry
of this Final Judginent without admitting or denying the allegations of the Complaint (except as
to jurisdiction); waived findings of fact and conclusions of law; and waived any right to appeal
from this Final Judgment:

I.

IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Defendant and
Defendant’s agents, servants1 employees, attorneys, and all persons in active concert or
participation with them who receive actual notice of this Final ludgrnent by personal service or
otherwise are permanently enjoined and restrained from violating, directly or indirectly, Section
lO(b) of the Securities Exchange Act of 1934 ("Exchange Ac ") [15 U.-S.C. § 78j(b)] and Rule
10b-5 thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of interstate

commerce, or of the mails, or of any facility of any national securities exchange, in connection

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With the purchase or sale of any security:

l. to employ any device, scheme or artifice to defraud;

2. to make any untrue statement cfa material fact or to omit to state a material fact
necessary in order to make the statements made, in light of the circumstances
under which they were made, not misleading; or

3. to engage in any act, practice, or course of business which operates or would
operate as a fraud or deceit upon any person‘,

Il.

IT IS FURTHER ORDERED, ADJUDGED, AND DECR_EED that Det`endant is liable
for disgorgement of $159,230, representing profits gained as a result of the conduct alleged in
the Complaint, together with prejudgment interest thereon in the amount of $ l 9,578, and a civil
penalty in the amount of$79,615 pursuant to Section 21A of the Exchange Act [15 U.S.C. §78u-
l]. Defendant shall satisfy this obligation by paying $258,423 pursuant to the terms of the
payment schedule set forth in Section IIl below by certified check, bank cashier‘s check, or
United States postal money order payable to the Securities and Exchange Comrnission_ All
payments shall be delivered or mailed to the Office of Financial Managernent, Secun'ties and
Exchange Cornmission, 100 F Street, NE, Stop 6042, Washington DC 20549, and shall be
accompanied by a letter identifying Allan F. Derusha as a defendant in this action; setting forth
the title and civil action number of this action and the name of this Court; and specifying that
payment is made pursuant to this Final Judgment. A copy of each letter should -be sent to Scott
B. Tancly, Esq., Securities and Exchange Commission, 175 W. Jackson Blvd., Suite 900,
Chicago IL 60604. Defendant shall pay post-judgment interest on any delinquent amounts

pursuant to 28 USC § 1961. The Commission Shall remit the funds paid pursuant to this

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paragraph to the United States Treasury.
Ill.

Allan F. Derusha shall pay $258,423 in 4 installments according to the following
schedule: (l) $66,000 within 7 days of entry of this Final ludgment; (2) $35,000 within 120
days of entry of this Final Juclgment plus post-judgment interest pursuant to 28 U.S.C. § 1961;
(3) $35,000 within 240 days of entry of this Final Judgment plus post-judgment interest pursuant
` to 28 U.S.C. § 1961; and (4) $l22,423 within 360 days of entry of this Final Judgmen`t plus post-
judgment interest pursuant to 28 U.S.C. § 1961.

lt`Allan F. Derusha fails to make any payment by the date agreed and/or in the
amount agreed according to the schedule set forth above, all outstanding payments under this
Final Judgment, including postjudgment interest, minus any payments made, shall become due
and payable immediately without further application to the Court.
IV.

IT lS FUR.THER ORDERED, ADJUDGED, AND DECREED that the Consent is
incorporated herein with the same force and effect as if fully set forth herein, and that Defendant
shall comply with all of the undertakings and agreements set forth thereinl

V.
IT lS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.

Dated:@§F’ ¢Qé€/KJZ _,91)_~")_,.-»/
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Qnyi_) sTAyEs DIsTRICT JUDGE

